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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

CINDY GAMRAT,
                                                       Case No. 1:16-cv-01094-PJG
                Plaintiff,
v.                                                     HON. PHILLIP J. GREEN

JOSHUA CLINE, et al.,

            Defendants.
__________________________________

                                   CASE MANAGEMENT ORDER

        IT IS ORDERED:

 Trial Date and Time                                                      APRIL 22, 2019
                                                                               9:00 a.m.
 Jury or Non Jury                                                                     Jury
 Estimated Length of Trial                                                          3 days
 Motions to Join Parties or Amend Pleadings                                JUNE 15, 2018
 Rule 26(a)(1) Disclosures                        Plaintiff:               JUNE 30, 2018
                                                 Defendant:                JUNE 30, 2018
 Disclose Name, Address, Area of Expertise and    Plaintiff:             JULY 12, 2018
 a short summary of expected testimony           Defendant:            AUGUST 14, 2018
 of Expert Witnesses (Rule 26(a)(2)(A)
 Disclose of Expert Reports                       Plaintiff:       SEPTEMBER 14, 2018
 (Rule 26(a)(2)(B))                              Defendant:        SEPTEMBER 14, 2018
 Completion of Discovery                                            NOVEMBER 13, 2018
 Dispositive Motions                                                DECEMBER 17, 2018
 Interrogatories will be limited to:                               25 single part questions
 (Single Part Questions)
 Depositions will be limited to:                                              10 per party
 (Fact Witnesses Per Party)
 Requests for Admission will be limited to:                                        no limit
 (Per Side)
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 Requests for Documents:                                                                  25 per side
 (Per Side)
 Settlement Conference                                       Date:                  None at this time
                                                             Time:
                                                            Before
 Final Pretrial Conference                                   Date:                   APRIL 5, 2019
                                                             Time:                       2:00 p.m.
 ADR To Take Place On Or Before:                                                    None at this time

1.      TRIAL DATE AND SETTING: This case is scheduled for trial as set forth above. Trial will

        be conducted before Magistrate Judge Phillip J. Green, 601 Ford Federal Building, 110

        Michigan, NW, Grand Rapids, Michigan.

2.      JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All motions for joinder

        of parties and all motions to amend the pleadings must be filed by the date set forth in the

        table above.

3.      DISCLOSURES AND EXCHANGES:                     Deadlines for exchange of Rule 26(a)(1)

        disclosures, names of lay witnesses, identification of experts, voluntary exchange of

        documents, and disclosure of expert reports under Rule 26(a)(2), if applicable, are ordered

        as set forth in the table above.

4.      DISCOVERY: All discovery proceedings shall be completed no later than the date set forth

        in the table above, and shall not continue beyond this date. All interrogatories, requests for

        admissions, and other written discovery requests must be served no later than thirty days

        before the close of discovery. All depositions must be completed before the close of

        discovery. Interrogatories will be limited as set forth in the table above. Depositions will

        be limited as set forth in the table above. There shall be no deviations from this order




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        without prior approval of the court upon good cause shown. Time limitations for depositions

        set forth in Rule 30(d)(1) apply to this case.

5.      MOTIONS:

        a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LcivR. 7.3.

                In accordance with 28 U.S.C. § 471 et seq., it is the policy of this Court to prohibit

                the consideration of discovery motions unless accompanied by a certification that the

                moving party has made a reasonable and good faith effort to reach agreement with

                opposing counsel on the matters set forth in the motion.

        b.      Dispositive motions shall be filed in accordance with W.D. Mich. LcivR 7.2 by the

                date set forth in the table above. If dispositive motions are based on supporting

                documents such as depositions or answers to interrogatories, only those excerpts

                which are relevant to the motion shall be filed.

        c.      Motions in limine shall be filed no later than thirty days before the date of the Final

                Pretrial Conference. Responses to the motions shall be filed within fourteen days

                after service. The motions will be decided at the Final Pretrial Conference, unless

                the court schedules a special hearing date.

6.      ALTERNATIVE DISPUTE RESOLUTION: No form of ADR will be ordered at this time.

7.      SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in

        good faith settlement negotiations. No settlement conference has been scheduled at this

        time.

8.      FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and

        time set forth above.


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9.      PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order,

        entitled “Final Pretrial Order” shall be prepared jointly by counsel and filed seven (7) days

        prior to the final pretrial conference in the following form:

               A final pretrial conference was held on the ___ day of ______________. Appearing
               for the parties as counsel were:

                       (List the counsel who will attend the pretrial conference.)

               1)      Exhibits: The following exhibits will be offered by the plaintiff and the
                       defendant:

                       (List separately for each party all exhibits, including demonstrative evidence
                       and summaries of other evidence, by name and number. Plaintiff shall use
                       numbers [1-99]; defendant shall use letters [A-Z]. Indicate with respect to
                       each exhibit whether and for what reason its admissibility is objected to.
                       Exhibits expected to be used solely for impeachment purposes need not be
                       numbered or listed until identified at trial. Failure to list an exhibit required
                       to be listed by this order will result, except upon a showing of good cause,
                       in a determination of non-admissibility at trial. Objections not contained in
                       the Pretrial Order, other than objections under Evidence Rule 402 or 403,
                       shall be deemed waived except for good cause shown. See Fed. R. Civ. P
                       26(a)(3)(B).

               2)      Uncontroverted Facts: The parties have agreed that the following may be
                       accepted as established facts:

                               (State in detail all uncontroverted facts.)

               3)      Controverted Facts and Unresolved Issues: The factual issues remaining to
                       be determined and issues of law for the Court’s determination are:

                               (Set out each issue which is genuinely controverted, including issues
                               on the merits and other matters which should be drawn to the Court’s
                               attention.)

               4)      Witnesses:

                       A.      Non-expert witnesses to be called by the plaintiff and defendant,
                               except those who may be called for impeachment purposes only, are:




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                      (List names, addresses, and telephone numbers of all non-experts
                      who will testify. Indicate whether they are expected to testify in
                      person, by deposition videotape, or by reading of their deposition
                      transcript. Indicate all objections to the anticipated testimony of each
                      non-expert witness. For each witness listed, indicate whether the
                      witness will be called or merely may be called to testify.)

               B.     Expert witnesses to be called by the plaintiff and defendant, except
                      those who may be called for impeachment purposes only, are:

                      (List names, addresses, and telephone numbers of all experts who
                      will testify, providing a brief summary of their qualifications and a
                      statement of the scientific or medical field(s) in which they are
                      offered as experts. Indicate whether they will testify in person, by
                      deposition videotape, or by reading of their deposition transcript.
                      Indicate all objections to the qualifications or anticipated testimony
                      of each expert witness.)

               It is understood that, except upon a showing of good cause, no witness whose
               name and address does not appear in the lists required by subsections (a) and
               (b) will be permitted to testify for any purpose, except impeachment, if the
               opposing party objects. Any objection to the use of a deposition under Fed.
               R. Civ. P. 32(a) not reflected in the Pretrial Order shall be deemed waived,
               except for good cause shown.

         5)    Depositions and Other Discovery Documents: All depositions, answers to
               written interrogatories, and requests for admissions, or portions thereof, that
               are expected to be offered in evidence by the plaintiff and the defendant are:

                      (Designate portions of depositions by page and line number.
                      Designate answers to interrogatories and requests for admissions by
                      answer or request number. Designation need not be made of portions
                      that may be used, if at all, as impeachment of an adverse party.
                      Indicate any objections to proposed deposition testimony, answers to
                      interrogatories, and admissions.)

         6)    Length of Trial: Counsel estimate the trial will last approximately _____
               days, total, allocated as follows: _____ days for plaintiff’s case; _____ days
               for defendant’s case; _____ days for other parties.

         7)    Prospects of Settlement: The current status of settlement negotiations is:

                      (Indicate persons present during negotiations, progress toward
                      settlement and issues that are obstacles to settlement.)

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         The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and

upon approval by the Court, with such additions as are necessary, will be signed by the Court as an

order reflecting the final pretrial conference.

10.      MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the

         final pretrial conference, the parties and the Court will formulate a plan for trial, including

         a program for facilitating the admission of evidence, consider the prospects of settlement,

         and consider such other matters as may aid in the trial or other disposition of the action.

         Unless excused upon a showing of good cause, the attorney who is to conduct the trial shall

         attend the pretrial conference and should be accompanied by his/her clients.

11.      PREPARATION FOR TRIAL:

         a.     Each party shall file the following not later than seven (7) days prior to the

                commencement of the trial:

                i.      Proposed voir dire questions. The Court will ask basic voir dire questions.

                        Counsel for the parties will be permitted to question prospective jurors.

                        Questioning by counsel shall not be repetitive of questions asked by the

                        Court or of questions asked in the juror questionnaire.

                ii.     Trial briefs.

         b.     The parties shall jointly file the following not later than seven (7) days prior to trial:

                i.      Joint proposed jury instructions. The parties shall submit one joint set of

                        instructions to the court and shall make every reasonable effort to agree on

                        the substantive instructions stating the elements of the claims and defenses.

                        This Court uses Western District of Michigan’s Standardized Jury


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               Instructions for the preliminary and final instructions. A copy of these

               instructions is available on the Court’s website (www.miwd.uscourts.gov).

               The court generally uses O’Malley, Grenig & Lee’s Federal Jury Practice

               and Instructions for those not covered in the standard set.

               (1)    Each instruction shall be submitted in full text, one instruction per

                      page, in the order in which you propose they be given to the jury.

               (2)    In addition to being electronically filed, the proposed instructions

                      shall be submitted to the judge’s chambers in an editable word

                      processing format.

               (3)    For standard instructions with the highlighted language or blanks, fill

                      in the blanks and either delete the highlighting, leaving the language

                      intact, or delete the highlighted language altogether, as applicable.

                      No instruction submitted shall contain highlighting or blanks.

               (4)    If you would like to change language on a standardized instruction,

                      or submit additional instructions, you must indicate the source of the

                      additional language or instruction.

               (5)    Indicate objections, if any, to opposing counsel’s proposed

                      instructions, with a summary of the reason for each objection. Place

                      each objection at the bottom of the specific instruction page.

         ii.   A joint statement of the case and statement of the elements that must be

               proven by each party. If the parties are unable to agree on the language of

               a joint statement of the case, then separate, concise, non-argumentative


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                  statements shall be filed. The statement(s) of the case will be read to the

                  prospective jurors during jury selection. The elements that must be proven

                  by each party will be included in the preliminary jury instructions.

      IT IS SO ORDERED.



Dated: May 14, 2018                      /s/ Phillip J. Green
                                         PHILLIP J. GREEN
                                         United States Magistrate Judge




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